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 1. Gerwaski v. Nevada ex rel. Bd. of Regents of the NV Sys. of Higher Educ.
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   Gerwaski v. Nevada ex rel. Bd. of Regents of the NV Sys. of Higher Educ.
                                United States District Court for the District of Nevada
                                      May 5, 2025, Decided; May 5, 2025, Filed
                                         Case No.: 2:24-cv-00985-APG-MDC


Reporter
2025 U.S. Dist. LEXIS 84645 *; 2025 LX 33334

COREY GERWASKI, Plaintiff v. STATE OF NEVADA
ex rel. BOARD OF REGENTS OF THE NEVADA                        Opinion
SYSTEM OF HIGHER EDUCATION, et al., Defendants

Prior History: Gerwaski v. Nevada ex rel. Bd. of
Regents of the NV Sys. of Higher Educ., 2025 U.S. Dist.       Order Granting Defendants AJP Educational
LEXIS 4817, 2025 WL 406670 (D. Nev., Jan. 10, 2025)           Foundation and SJP-UNLV's Motions to Dismiss

                                                              [ECF Nos. 24, 37, 51, 61]
Core Terms
                                                              Plaintiff Corey Gerwaski sues the University of Nevada,
allegations, terrorist, communications, emotional             Las Vegas (UNLV), its president, and several advocacy
distress, anti-SLAPP, organizations, media, international     organizations. Gerwaski alleges that demonstrations on
terrorism, personal jurisdiction, quotation, special          the UNLV campus caused him mental anguish, violated
motion, motion to dismiss, outrageous, campus,                his constitutional rights, and caused him to lose his job
campuses, messaging, terrorism, protests, responds,           at the UNLV library. Gerwaski also sues AJP
violence, toolkit, substantial assistance, advocacy,          Educational Foundation, doing business as American
public concern, forum state, good cause, affiliates, facie,   Muslims for Palestine (AMP), and the UNLV chapter of
posts, objectively verifiable                                 Students [*2] for Justice in Palestine1 (SJP-UNLV) for
                                                              aiding and abetting terrorism and for intentional infliction
Counsel: [*1] For Corey Gerwaski, Plaintiff: Joseph S.        of emotional distress (IIED).
Gilbert, LEAD ATTORNEY, Joey Gilbert Law, Reno,
NV; Sigal Chattah, Chattah Law Group, Las Vegas, NV.          AMP moves to dismiss Gerwaski's first amended
For State of Nevada ex rel. Board of Regents of the           complaint (FAC) arguing that it is not subject to personal
Nevada System of Higher Education, on behalf of,              jurisdiction in Nevada and Gerwaski's service was
University of Nevada, Las Vegas, Keith Whitfield,             untimely. Both AMP and SJP-UNLV move to dismiss for
Defendants: Andrew D. Smith, LEAD ATTORNEY,                   failing to state a claim upon which relief can be granted,
University of Nevada, Las Vegas, Las Vegas, NV.               arguing that Gerwaski has not plausibly alleged a
                                                              compensable injury or sufficient underlying facts to bring
For AJP Educational Foundation Inc., Defendant:               these claims. Gerwaski responds that he has plausibly
Margaret A McLetchie, LEAD ATTORNEY, McLetchie                alleged a connection between these groups and terrorist
Law, Las Vegas, NV; Christina A. Jump, Samira S.              organizations and that he was injured. Both AMP and
Elhosary, PRO HAC VICE, Muslim Legal Fund of                  SJP-UNLV also argue that Gerwaski's claims are
America, Richardson, TX.                                      predicated on conduct that is protected under the First
                                                              Amendment. Gerwaski responds that his complaint
Judges: ANDREW P. GORDON, CHIEF UNITED
STATES DISTRICT JUDGE.
                                                              1 Although named as Students for Justice of Palestine-UNLV,
Opinion by: ANDREW P. GORDON
                                                              this defendant self-identifies as Students for Justice in
                                                              Palestine UNLV. See ECF No. 51 at 1.

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alleges conduct that is material support for terrorism and        The day after Hamas's October 7, 2023 terrorist attack
therefore not protected by the First Amendment.                   in Israel, NSJP released a "Day of Resistance Toolkit" to
                                                                  students on American campuses and on the internet. Id.
AMP and SJP-UNLV also bring special motions to                    at 18. The toolkit contained instructions and templates
dismiss Gerwaski's IIED claims under Nevada's anti-               for users to create online announcements to organize
SLAPP (strategic lawsuit against public participation)            protests. Some of the slogans in this toolkit mirror the
statute. They argue that the IIED claims are based on             messaging used by Hamas. After this toolkit came out,
good faith communications made in public on matters of            SJP-UNLV organized several protests both on and off
public concern. Gerwaski responds that all [*3] of AMP            the UNLV campus, called for an economic boycott at
and SJP-UNLV's communications constituted material                UNLV, and called for UNLV to divest from investment in
support for terrorism and were therefore unprotected              Israeli companies. At one of the demonstrations
and not made in good faith.                                       organized by SJP-UNLV, protestors chanted "[f]rom the
                                                                  river to the sea, Palestine [*5] will be free" and "[l]ong
I grant AMP and SJP-UNLV's motions to dismiss
                                                                  live the intifada." Id. at 45. Gerwaski alleges that these
because Gerwaski has not plausibly alleged sufficient
                                                                  chants call for eliminating the country of Israel and
facts to establish personal jurisdiction over AMP and
                                                                  express support for terrorist campaigns.
because he has not plausibly alleged the elements of
his claims. I dismiss Gerwaski's Antiterrorism Act claims         Gerwaski is a Jewish student at UNLV who wears the
without prejudice and grant him leave to amend his                Jewish skullcap, or kippah, at all times. Gerwaski serves
complaint. I grant AMP and SJP-UNLV's special                     in the UNLV student government and briefly worked at
motions to dismiss Gerwaski's state law IIED claims.              the UNLV Lied Library. He alleges that he has been
Under Nevada's anti-SLAPP statute, a dismissal                    exposed to verbal assaults by members of Nevada
operates as an adjudication upon the merits. Therefore,           Palestine Liberation, another nonstudent group, who
I dismiss Gerwaski's IIED claims with prejudice.                  made hateful, antisemitic comments to him. Gerwaski
                                                                  has elected to cover his kippah with a baseball cap or
                                                                  other head covering due to the antisemitic chants and
I. BACKGROUND2                                                    chaos on the UNLV campus. Due to the conditions on
                                                                  UNLV's campus, Gerwaski suffered "severe and
AMP is a nonprofit organization incorporated in
                                                                  extreme emotional distress manifested as great
California and headquartered in Virginia. It is "dedicated
                                                                  humiliation, embarrassment, shame, and other pain and
to advancing the movement for justice in Palestine by
                                                                  suffering." Id. at 72.
educating the American public about Palestine and its
rich cultural, historical and religious heritage through
grassroots mobilization and advocacy." ECF No. 6 at 5.
                                                                  II. ANALYSIS
Gerwaski alleges that AMP controls the National
Students for Justice in Palestine (NSJP) group, of which
SJP-UNLV is an affiliate. He further claims that                  A. Timeliness of Service
AMP [*4] uses NSJP "to operate a propaganda
machine for Hamas and its affiliates across American              AMP contends Gerwaski failed to serve it within 90 days
college campuses to influence, wreak havoc and                    of filing his complaint. Gerwaski acknowledges that his
intimidate Jewish students on university campuses                 service was untimely but argues that I should exercise
across the Nation." Id. at 8. According to Gerwaski,              my discretion to retroactively extend the service period.
NSJP supports Hamas, justifies Hamas's terroristic
activities through its rhetoric and messaging, and                "A federal court is without personal jurisdiction over a
perceives itself as a part of the group. Hamas, in turn,          defendant unless [*6] the defendant has been served in
allegedly welcomes support from NSJP and its affiliates           accordance with Fed[eral] R[ule of] Civ[il] P[rocedure]
and encourages them to be "part of this battle" in the            4." Crowley v. Bannister, 734 F.3d 967, 974-75 (9th Cir.
United States. Id. at 17.                                         2013) (quotation omitted). If a defendant is not properly
                                                                  served under Rule 4, it can assert the defense of
                                                                  insufficient service of process under Federal Rule of
                                                                  Civil Procedure 12(b)(5). While "Rule 4 is a flexible rule
2 All facts are taken from the FAC (ECF No. 6), which I take as   that should be liberally construed so long as a party
true when considering a motion to dismiss.

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receives sufficient notice of the complaint," the serving       the party to be served would suffer no prejudice, and the
party must substantially comply with the rule. Crowley,         serving party would be severely prejudiced if the
734 F.3d at 975 (quotation omitted). The serving plaintiff      complaint is dismissed. [*8] Id. I also may consider
bears the burden of establishing that a challenged              whether the serving party eventually accomplished
service was valid. Brockmeyer v. May, 383 F.3d 798,             service. Id.
801 (9th Cir. 2004).
                                                                I extend the period for service in this case. Because the
Federal Rule of Civil Procedure 4(m) requires the               statute of limitations has not yet run, Gerwaski could
plaintiff to serve a defendant "within 90 days after the        simply refile his lawsuit against AMP and then move to
complaint is filed." If the plaintiff fails to do so, I "must   consolidate the cases. AMP was eventually served
dismiss the action without prejudice against that               properly, approximately two weeks after the deadline for
defendant or order that service be made within a                timely service. Because it would not prejudice either
specified time." Id. Rule 4(m)'s time limit "is not restarted   party and will promote economy of judicial resources, I
by the filing of an amended complaint except as to those        deny AMP's motion to dismiss for untimely service and
defendants newly added in the amended complaint"                retroactively extend the time for Gerwaski to serve it to
because otherwise the plaintiff could repeatedly file           September 4, 2024.
amended complaints "to extend the time for service
indefinitely." See Bolden v. City of Topeka, Kan., 441
F.3d 1129, 1148 (10th Cir. 2006) (quotation omitted)).          B. Personal Jurisdiction

Nevertheless, I must extend the 90-day time limit of            AMP argues that Gerwaski has not alleged sufficient
Rule 4(m) if Gerwaski shows good cause for failure to           facts to establish personal jurisdiction over it in Nevada
serve within 90 days. Lemoge v. United States, 587              because AMP is not a Nevada corporation and has not
F.3d 1188, 1198 (9th Cir. 2009). Gerwaski bears [*7]            purposefully directed any of its activity towards Nevada.
the burden of demonstrating good cause for the delay.           Gerwaski responds that AMP is subject to both general
Fed. R. Civ. P. 4(m); Boudette v. Barnette, 923 F.2d            and specific jurisdiction because it disseminated its
754, 755-56 (9th Cir. 1991). Generally good cause is            messaging toolkit to more than 300 American college
equated with diligence. Townsel v. Contra Costa Cnty.,          campuses and made social media posts that directed
Cal., 820 F.2d 319, 320 (9th Cir. 1987). A showing of           protests in Nevada.
good cause requires more than inadvertence or mistake
                                                                "When no federal statute governs personal jurisdiction,
of counsel. Id. "[A]t a minimum, good cause means
                                                                the district court applies the law of the forum state."
excusable neglect." In re Sheehan, 253 F.3d 507, 512
                                                                Boschetto v. Hansing, 539 F.3d 1011, 1015 (9th Cir.
(9th Cir. 2001) (quotation omitted).
                                                                2008). Nevada's longarm [*9] statute is co-extensive
Gerwaski has not shown good cause for the delay. He             with federal standards, so I may exercise personal
states that he attempted to serve AMP at its Virginia           jurisdiction if doing so comports with federal
headquarters prior to the August 26, 2024 deadline but          constitutional due process. Nev. Rev. Stat. § 14.065(1);
found the office locked and vacant until his fourth             Walden v. Fiore, 571 U.S. 277, 283, 134 S. Ct. 1115,
attempt at service. He successfully served AMP on               188 L. Ed. 2d 12 (2014). "There are two forms of
September 3, 2024. ECF No. 10. Despite his assertion            personal jurisdiction that a forum state may exercise
that he attempted timely service, the emails with the           over a nonresident defendant—general jurisdiction and
process server are dated August 27-30, which would              specific jurisdiction." Boschetto, 539 F.3d at 1016.
also be untimely. ECF No. 30-1 at 2-3.
                                                                General jurisdiction over a foreign corporation is proper
Even though Gerwaski has not demonstrated good                  only when the corporation's affiliations with the State
cause, I have discretion to extend time for service or to       "are so continuous and systematic as to render them
dismiss the complaint without prejudice. In re Sheehan,         essentially at home in the forum State." Daimler AG v.
253 F.3d at 513. I may extend time for service even             Bauman, 571 U.S. 117, 127, 134 S. Ct. 746, 187 L. Ed.
after the 90-day period expires. Efaw v. Williams, 473          2d 624 (2014) (simplified). Outside of exceptional cases,
F.3d 1038, 1041 (9th Cir. 2007). In making this                 a corporation is at home where it is incorporated or has
determination, I consider factors such as whether the           its principal place of business. Ford Motor Co. v. Mont.
party to be served received actual notice of the lawsuit,       Eighth Jud. Ct., 592 U.S. 351, 359, 141 S. Ct. 1017, 209


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L. Ed. 2d 225 (2021).                                           Gerwaski also fails to allege any contacts with Nevada
                                                                that show purposeful availment in this State to support
Specific jurisdiction depends on an "activity or an             specific jurisdiction. He alleges that AMP controls NSJP
occurrence that takes place in the forum State and is           and that NSJP communicates with its local chapters
therefore subject to the State's regulation." Goodyear          including SJP-UNLV. But none of the NSJP social
Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915,           media posts in the FAC are directed at Nevada or
919, 131 S. Ct. 2846, 180 L. Ed. 2d 796 (2011). In              UNLV. Although Gerwaski alleges that NSJP sent its
contrast with general jurisdiction, "specific jurisdiction is   toolkit out to "more than 300 American college
confined to adjudication of issues deriving from, or            campuses and on the internet," he does not allege that
connected with, the very controversy that establishes           UNLV was one of those campuses or even that SJP-
jurisdiction." Id. (quotation omitted). "For a court to         UNLV utilized the toolkit in its activities. Id. at 18.
exercise personal jurisdiction over a nonresident               Distributing a message through social media, absent
defendant, that defendant must have at least minimum            specific targeting of the forum, is insufficient to establish
contacts with the relevant forum such that the exercise         specific jurisdiction. See Ayla, LLC v. Alya Skin Pty.
of jurisdiction [*10] does not offend traditional notions of    Ltd., 11 F.4th 972, 980 (9th Cir. 2021); Impossible
fair play and substantial justice." Schwarzenegger v.           Foods Inc. v. Impossible X LLC, 80 F.4th 1079, 1097
Fred Martin Motor Co., 374 F.3d 797, 801 (9th Cir.              (9th Cir. 2023) (noting the difference between
2004) (quotation omitted). I apply a three-prong test to        undifferentiated nationwide sales and marketing efforts
determine whether specific jurisdiction exists: (1) the         through social media and using California as a "base
defendant "must have performed some act or                      point" and "headquarters" to build the brand).
consummated some transaction with the forum by which
it purposefully availed itself of the privilege of conducting   I therefore grant AMP's [*12] motion to dismiss for lack
business" in the forum state; (2) the plaintiff's claims        of personal jurisdiction. I grant Gerwaski leave to amend
"must arise out of or result from [those] forum-related         his complaint if he is able to plausibly allege additional
activities; and (3) the exercise of jurisdiction must be        facts to establish personal jurisdiction over AMP.
reasonable." Rio Props., Inc. v. Rio Int'l Interlink, 284       Because I allow amendment, I will also address AMP's
F.3d 1007, 1019 (9th Cir. 2002).                                substantive arguments for dismissal, which are similar
                                                                to SJP-UNLV's.
"Purposeful availment requires that the defendant
engage in some form of affirmative conduct allowing or
promoting the transaction of business within the forum          C. Failure to State a Claim
state." Doe v. Am. Nat. Red Cross, 112 F.3d 1048, 1051
(9th Cir. 1997) (quotation omitted). "Due process               In considering a motion to dismiss under Federal Rule
requires that a defendant be haled into court in a forum        of Civil Procedure 12(b)(6), I take all well-pleaded
State based on his own affiliation with the State, not          allegations of material fact as true and construe the
based on the 'random, fortuitous, or attenuated' contacts       allegations in a light most favorable to the non-moving
he makes by interacting with other persons affiliated           party. Kwan v. SanMedica Int'l, 854 F.3d 1088, 1096
with the state." Walden, 571 U.S. at 286 (quoting Burger        (9th Cir. 2017). However, I do not assume the truth of
King v. Rudzewicz, 471 U.S. 462, 475, 105 S. Ct. 2174,          legal conclusions merely because they are cast in the
85 L. Ed. 2d 528 (1985)). Where "the motion is based            form of factual allegations. Navajo Nation v. Dep't of the
on written materials rather than an evidentiary hearing,        Interior, 876 F.3d 1144, 1163 (9th Cir. 2017). A plaintiff
the plaintiff need only make a prima facie showing of           must also make sufficient factual allegations to establish
jurisdictional facts." Schwarzenegger, 374 F.3d at 800.         a plausible entitlement to relief. Bell Atl. Corp. v.
                                                                Twombly, 550 U.S. 544, 556, 127 S. Ct. 1955, 167 L.
Gerwaski has not established a prima facie showing of           Ed. 2d 929 (2007). A claim is facially plausible when the
personal [*11] jurisdiction over AMP in Nevada. The             complaint alleges facts that allow the court to draw a
FAC acknowledges that AMP is incorporated in                    reasonable inference that the defendant is liable for the
California and headquartered in Virginia. ECF No. 6 at          alleged misconduct. Ashcroft v. Iqbal, 556 U.S. 662,
4. And no additional facts are alleged that would               678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). When
suggest AMP is essentially at home in Nevada and thus           the claims have not crossed the line from conceivable to
subject to general jurisdiction.                                plausible, the complaint must be dismissed. Twombly,
                                                                550 U.S. at 570.


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                                                                  harm students at UNLV and specifically Gerwaski.
1. Antiterrorism Act                                              Further, Plaintiff's FAC provides 27 pages of
                                                                  extensive facts creating a direct nexus between
Both AMP and SJP-UNLV argue that Gerwaski has not                 Hamas, Defendants AMP and UNLV's substantially
plausibly alleged that he suffered an injury from an act          assisting and complicitly allowing SJP-UNLV to
of international terrorism or that [*13]            either        engage in these egregious [*15] acts which directly
organization provided substantial assistance to an act of         caused damages to Mr. Gerwaski.
international terrorism. Gerwaski responds that AMP
and SJP-UNLV provided substantial assistance to               ECF No. 30 at 14; see also ECF No. 53 at 23 (nearly
Hamas by justifying its terroristic actions and promoting     identical passage). This conclusory statement that he is
"resistance" in the United States, and that he was            injured without describing what injuries he sustained or
injured by this activity.                                     how those injuries arose out of an act of international
                                                              terrorism is not sufficient to plausibly allege an injury
A United States national who has been injured by an act       under the Antiterrorism Act.
of international terrorism may sue the terrorists or
organizations that carried out the attack, or "any person     Gerwaski also does not plausibly allege that AMP and
who aids and abets, by knowingly providing substantial        SJP-UNLV provided substantial assistance to Hamas
assistance, or who conspires with the person who              for its act of international terrorism. The FAC alleges
committed such an act of international terrorism." 18         that AMP and SJPUNLV repeat Hamas's rhetoric in the
U.S.C. § 2333(d)(2). To sustain his claim, Gerwaski           United States and justify its actions. It also alleges that
must plausibly allege (1) "an injury arising from an act of   Hamas welcomes this support, and its goals are
international terrorism," (2) committed by a designated       renewed and reinvigorated by this support. Even if vocal
foreign terrorist organization, and (3) AMP and SJP-          support from across the world could be substantial
UNLV "knowingly provide[d] substantial assistance or          assistance for future acts of terrorism, Gerwaski does
conspire[d] with the person who committed such an act         not allege any actions by the defendants that
of international terrorism." Id.; Twitter, Inc. v. Taamneh,   substantially assisted the October 7, 2023 act of
598 U.S. 471, 483-84, 143 S. Ct. 1206, 215 L. Ed. 2d          international terrorism. All of the defendants' conduct
444 (2023). Aiding-and-abetting liability requires "that      alleged in the FAC took place after this event.
the defendant consciously and culpably participated in a
                                                              I therefore dismiss Gerwaski's Antiterrorism Act claims
wrongful act so as to help make it succeed." Taamneh,
                                                              against AMP and SJP-UNLV without prejudice.
598 U.S. at 493 (simplified). The defendants must have
                                                              Although it is difficult to imagine what facts might show
"aided and abetted the act of international
                                                              that [*16] he suffered injuries from an act of
terrorism [*14] that injured" Gerwaski, though he need
                                                              international terrorism that the defendants substantially
not necessarily show "a strict nexus between the
                                                              assisted, I grant Gerwaski leave to amend his complaint
alleged assistance and the terrorist act." Id. at 497. The
                                                              if he is able to plausibly allege additional facts to support
greater the assistance, the less scienter is necessary to
                                                              this claim.
show conscious and culpable assistance. Id. at 491-93.

Gerwaski has not alleged an injury arising out of an act
of international terrorism. The only event that Gerwaski      2. IIED
discusses in his complaint that qualifies as an act of
                                                              Both AMP and SJP-UNLV argue that Gerwaski has not
international terrorism is Hamas's October 7, 2023
                                                              plausibly alleged that either of them engaged in extreme
attack in Israel. Gerwaski does not allege that he was
                                                              and outrageous conduct, that he suffered a cognizable
present in Israel during the attack. In response to the
                                                              injury, or that any injury he suffered is traceable to the
defendants' argument that he fails to allege an injury,
                                                              defendants' conduct. Gerwaski responds that both
Gerwaski asserts,
                                                              defendants solicited and encouraged antisemitic vitriol
    [t]he mutual reliance and relationship that exists        and incited violence against Jewish students at UNLV.
    between Hamas and AMP and NSJP and SJP-                   Gerwaski asserts that he suffered emotional distress
    UNLV have resulted in injuries to Mr. Gerwaski,           and "great humiliation, embarrassment, shame, and
    insofar as the acts of terrorism against Jews in          other pain and suffering." ECF Nos. 6 at 72; 30 at 16; 53
    Israel, refusing to release hostages and collectively     at 17-18.
    and collaterally justifying these acts as resistance to

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To state an IIED claim under Nevada law, Gerwaski            through "great humiliation, embarrassment, shame, and
must plausibly allege that (1) the defendants' conduct       other pain and suffering" is wholly subjective. Id. at 72.
was extreme and outrageous; (2) the defendants either        He has not plausibly alleged any objectively verifiable
intended or recklessly disregarded causing Gerwaski          indicia of emotional distress.
emotional distress; (3) Gerwaski suffered severe or
extreme emotional distress; and (4) proximate cause.         Because Gerwaski has failed to meet several elements
Nelson v. City of Las Vegas, 99 Nev. 548, 665 P.2d           of IIED, I dismiss that claim against AMP and SJP-
1141, 1145 (Nev. 1983). Extreme and outrageous               UNLV. Because I also grant AMP and SJP-UNLV's
conduct "is that which is outside all possible bounds of     special motions to dismiss Gerwaski's IIED claims, I
decency and is regarded [*17] as utterly intolerable in a    dismiss those claims with prejudice.
civilized community." Maduike v. Agency Rent-A-Car,
114 Nev. 1, 953 P.2d 24, 26 (Nev. 1998) (simplified).
"Liability for emotional distress will not extend to mere    3. First Amendment
insults,    indignities,  threats,    annoyances,    petty
oppressions, or other trivialities." Abrams v. Sanson,       Both AMP and SJP-UNLV also argue that Gerwaski fails
136 Nev. 83, 458 P.3d 1062, 1070 (Nev. 2020)                 to state a claim against them because his allegations
(simplified). Severe or extreme emotional distress must      rely on conduct protected by the First Amendment.
be shown with "objectively verifiable indicia" of its        Gerwaski responds that material support to terrorists
severity. Blige v. Terry, 540 P.3d 421, 432 (Nev. 2023)      and true threats are not protected speech.
(en banc). Although Nevada follows a "sliding scale
                                                             The defendants rely on [*19] Snyder v. Phelps, 562
approach" that allows more extreme conduct to require
                                                             U.S. 443, 131 S. Ct. 1207, 179 L. Ed. 2d 172 (2011) and
less proof of emotional distress, Gerwaski must still
                                                             N.A.A.C.P. v. Claiborne Hardwood Co., 458 U.S. 886,
provide some objectively verifiable evidence of that
                                                             102 S. Ct. 3409, 73 L. Ed. 2d 1215 (1982) to argue that
distress. Franchise Tax Bd. of State of Cal. v. Hyatt, 133
                                                             the allegations in the FAC are First Amendment
Nev. 826, 407 P.3d 717, 741-42 (Nev. 2017) (en banc),
                                                             protected activities. In Snyder, demonstrators picketed
rev'd and remanded on other grounds sub nom
                                                             the funeral of a U.S. soldier killed in Iraq and displayed
Franchise Tax Bd. of Cal. v. Hyatt, 587 U.S. 230, 139 S.
                                                             signs expressing support for those who killed the soldier
Ct. 1485, 203 L. Ed. 2d 768 (2019).
                                                             and other offensive slogans. 562 U.S. at 448. The
Gerwaski has not plausibly alleged conduct that was          Supreme Court of the United States held that, absent
extreme and outrageous by either defendant. He points        more, speech made in a public place on a matter of
to a single social media post from SJP-UNLV that states      public concern is entitled to "special protection under the
"Zionist presence on our campus cannot go                    First Amendment" and could not support liability for
unchecked," which encourages support for Palestine by        IIED. Id. at 458.
attending a counter-demonstration. ECF No. 6 at 24. He
also alleges that the organizations encourage                In Claiborne, National Association for the Advancement
antisemitic vitriol by "globalizing the intifada." ECF No.   of Colored People (NAACP) members and others
30 at 16. Although Gerwaski may not like these               organized a boycott of white-owned businesses in
messages, they do not rise to the level of extreme and       Mississippi to encourage social changes. 458 U.S. at
outrageous behavior. Further, neither of these               889. The Supreme Court reversed the state courts'
messages was directed [*18] at Gerwaski or made in a         imposition of liability on the boycott participants holding
way that intends or recklessly disregards the risk of        that "the nonviolent elements of [the boycotters']
emotional distress for Gerwaski. The only specific           activities are entitled to the protection of the First
allegation of conduct directed at Gerwaski that might        Amendment." Id. at 915, 934. The court further
meet the extreme and outrageous standard was                 remarked that although violence is not protected by the
offensive comments allegedly made by members of              First Amendment, "[c]ivil liability may not be imposed
non-party organization Nevada Palestine Liberation.          merely because an individual belonged to a group,
See ECF No. 6 at 55-56.                                      some members of which committed acts of violence." Id.
                                                             at 920. Even "advocacy of the use of force or violence
Gerwaski also has not alleged that he suffered severe        does not remove speech from the protection of the First
emotional distress that is recoverable under Nevada          Amendment," unless such speech is likely [*20] to
law. His allegation that he felt emotional distress          provoke immediate violence or immediate panic. Id. at


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927; see also Brandenburg v. Ohio, 395 U.S. 444, 447,         Palestine and UNLV's response to that conflict. This is a
89 S. Ct. 1827, 23 L. Ed. 2d 430 (1969) (articulating that    matter of public, rather than private concern. Gerwaski
states may not "forbid or proscribe advocacy of the use       does not allege any conduct by either of these
of force or of law violation except where such advocacy       organizations that is directed [*22] at him in a private
is directed to inciting or producing imminent lawless         setting. None of the speech described could be
action and is likely to incite or produce such action").      interpreted as likely to incite imminent lawless action or
                                                              as a serious expression of intent to harm any particular
Gerwaski argues that the conduct of AMP and SJP-              individual.
UNLV falls outside First Amendment protections
because it constitutes material support for terrorism,        Gerwaski alleges that AMP has "knowingly used or
and, for SJP-UNLV, true threats. Gerwaski notes that          permitted the use of funds . . . to provide support to
Holder v. Humanitarian Law Project rejected a First           terrorists, terrorist organizations, terrorist activities, or
Amendment challenge to a law that criminalized                family members of terrorists" and that "[d]efendants
providing material support to foreign terrorist               identify themselves as not just aligned with Hamas's
organizations. 561 U.S. 1, 8, 130 S. Ct. 2705, 177 L. Ed.     terrorist activities, but 'PART of' them . . .." ECF No. 6 at
2d 355 (2010). In holding that the law was constitutional     6, 21. But these conclusory statements are not plausibly
as applied, the Supreme Court noted that "[i]ndividuals       supported by the factual allegations in the FAC.
who act entirely independently of the foreign terrorist       Gerwaski relies on the fact that NSJP claims to be part
organization to advance its goals or objectives shall not     of the "Unity Intifada" movement and allegedly puts forth
be considered to be working under the foreign terrorist       its messages in response to Hamas's rhetoric or vice
organization's direction and control." Id. at 23; 18 U.S.C.   versa. Id. at 20-21, 27. And Hamas has expressed that
§ 2339B(h). Similarly, "service" does not apply to            it is pleased and reinvigorated by the protests on
independent advocacy but only "providing service to a         American college campuses. Id. at 26-27. Even taking
foreign terrorist organization." Holder, 561 U.S. at 23-24    these allegations as true, they do not plausibly show
(quotation omitted) (emphasis in original). With these        that AMP and SJP-UNLV are providing personnel or
caveats, the Court upheld the statute because it              service to Hamas rather than independent advocacy.
"reaches only material [*21] support coordinated with or
under the direction of a designated foreign terrorist         If Gerwaski chooses to amend his complaint, he is
organization" of which speech may be included. Id. at         advised to plead his claims against AMP [*23] and
28, 31.                                                       SJP-UNLV in accordance with the First Amendment
                                                              principles I have described. He is also advised to
"True threats encompass those statements where the            comply with Federal Rule of Procedure 8(a), which
speaker means to communicate a serious expression of          requires only "a short and plain statement of the claim"
an intent to commit an act of unlawful violence to a          showing he is entitled to relief and "a demand for the
particular individual or group of individuals." Virginia v.   relief sought." Gerwaski's FAC contains 51 pages of
Black, 538 U.S. 343, 359, 123 S. Ct. 1536, 155 L. Ed.         background material before getting to a fivepage
2d 535 (2003) (quotation omitted). "Even a statement          "Statement of Facts" that actually pertains to Gerwaski.
that appears to threaten violence may not be a true           ECF No. 6 at 52-56. Although some background and
threat if the context indicates that it only expressed        jurisdictional information may be helpful, Gerwaski also
political opposition or was emotionally charged rhetoric."    spends pages describing a national organization's
Thunder Studios, Inc. v. Kazal, 13 F.4th 736, 746 (9th        response to a congressional subpoena, repetitive
Cir. 2021). The Ninth Circuit employs an objective test       allegations about the inner workings of various terrorist
that asks "whether a reasonable person would foresee          organizations, and activities at campuses other than
that a statement would be interpreted by those to whom        UNLV. None of that seems relevant to this case.
the maker communicates the statement as a serious
expression of intent to harm or assault." Id. (quotation
omitted).                                                     III. SPECIAL MOTIONS TO DISMISS

As pleaded, AMP and SJP-UNLV's conduct alleged in             AMP and SJP-UNLV also bring special motions to
the FAC is protected by the First Amendment. All the          dismiss Gerwaski's IIED claim under Nevada's anti-
conduct alleged appears to take place in public areas         SLAPP statute, arguing that his claims are based on
and involves speech on the conflict between Israel and        their good faith communications made in public about


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issues of public concern. Gerwaski responds that his             A. AMP
claims arise out of the defendants' conduct of providing
material support to foreign terrorist organizations and          Gerwaski is not clear about what conduct by AMP forms
that such conduct is not protected. Gerwaski also                the basis of his IIED claim. The complaint does not
argues that [*24] any otherwise protected speech was             attribute specific allegations to that claim for relief. See
not either truthful or made without knowledge of its             ECF No. 6 at 72. In Gerwaski's response to AMP's
falsehood and that he has pleaded a prima facie case             motion to dismiss, he claims that AMP was soliciting
for IIED.                                                        and encouraging "antisemitic vitriol," inciting "violence
                                                                 against Jewish students at UNLV by 'globalizing the
I evaluate an anti-SLAPP motion using a two-step                 intifada,'" and making "[s]ocial media posts that say
analysis. Spirtos v. Yemenidjian, 137 Nev. 711, 499              'Zionist presence on our campus can't go unchecked.'"
P.3d 611, 614 (Nev. 2021). At step one, I must                   ECF No. 30 at 16. And in response to the special motion
"[d]etermine whether the moving party has established,           to dismiss, Gerwaski argues that his IIED claim "is not
by a preponderance of the evidence, that the claim is            based [*26] on communications made by AMP, but on
based upon a good faith communication in furtherance             a course of conduct that violates federal law" by
of the right to petition or the right to free speech in direct   providing material support to foreign terrorist
connection with an issue of public concern." Nev. Rev.           organizations. ECF No. 45 at 12. But Gerwaski later
Stat. § 41.660(3)(a). Second, if the movant has met its          clarifies that this "conduct" includes "calling for a 'Unity
burden, I must "determine whether the plaintiff has              Intifada' against the Jewish state and vowing to
demonstrated with prima facie evidence a probability of          'contribute to the fight for Palestinian liberation.'" Id. at
prevailing on the claim." Id. § 41.660(3)(b).                    14.

The anti-SLAPP statute protects speech in four                   The FAC describes only one communication by AMP in
categories:                                                      its own words, rather than through its purported
    (1) Communication that is aimed at procuring any             subsidiary NSJP. That communication is a screenshot
    governmental or electoral action, result or outcome;         of a third-party social media post that claims that AMP's
    (2) Communication of information or a complaint to           executive director stated, "We Will Take Back Elite
    a Legislator, officer or employee of the Federal             Colleges, America, And Palestine; We Are The Future;
    Government, this state or a political subdivision of         Zionism is No Less Evil Than White Supremacy; Your
    this state, regarding a matter reasonably of concern         Generation Will Bring This Disgrace To An End." ECF
    to the respective governmental entity;                       No. 6 at 7. Gerwaski characterized this statement as a
                                                                 "threat" to American universities and college students.
    (3) Written or oral statement made in direct                 Id. Gerwaski also appears to attribute NSJP's conduct to
    connection with an issue under consideration by a            AMP. The only conduct by AMP, through NSJP, alleged
    legislative, executive or [*25] judicial body, or any        in the FAC that could arguably be the proximate cause
    other official proceeding authorized by law; or              of Gerwaski's emotional distress are NSJP's social
    (4) Communication made in direct connection with             media posts and messaging to other activist
    an issue of public interest in a place open to the           organizations by distributing a resistance toolkit. [*27]
    public or in a public forum.
                                                                 At step one, AMP has met its burden to show by a
Id. § 41.637. To determine whether a communication is            preponderance of the evidence that its statements, as
protected under the anti-SLAPP statute, I assess only            alleged by Gerwaski, were truthful or made without
whether it falls within one of these definitions and need        knowledge of their falsehood in furtherance of the right
not look to First Amendment law or "wrestle with difficult       to free speech in direct connection with an issue of
questions of constitutional law." Delucchi v. Songer, 133        public concern. In his attached declaration, AMP
Nev. 290, 396 P.3d 826, 833 (Nev. 2017) (en banc)                cofounder and board member Munjed Ahmad denied
(quotation omitted). Regardless of which category the            any relationship with or control over NSJP. ECF No. 37-
communication falls into it must be "truthful or [] made         1 at 3. Although Ahmad therefore denies making many
without knowledge of its falsehood." Nev. Rev. Stat. §           of the statements that form the basis of Gerwaski's
41.637.                                                          claim, he asserts that any communications AMP made
                                                                 were "truthful, or made without knowledge of falsity" and
                                                                 that some communications expressed the "opinion" of


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AMP and its board. Id. And the FAC's allegations show           Rev. Stat. § 41.660(5).
that the ongoing conflict in Gaza is a matter of public
interest, as it describes student protests at college
campuses, including at UNLV. Absent contradictory               B. SJP-UNLV
evidence in the record, "an affidavit stating that the
defendant believed the communications to be truthful or         The FAC attributes several communications to SJP-
made them without knowledge of their falsehood is               UNLV, including social media posts, public protests, and
sufficient to meet the defendant's burden" to show good         in-person meetings with UNLV President Keith Whitfield.
faith by a preponderance of the evidence. Stark v.              The social media posts include encouragement to
Lackey, 136 Nev. 38, 458 P.3d 342, 347 (Nev. 2020)              attend events or other statements such as "all out for
(en banc). And communications via social media [*28]            Gaza," "UNLV you will see Palestine will be free!" and
are made in a public forum. Id. at 345 n.2.3                    "Zionist presence on our campus cannot go
                                                                unchecked." ECF No. 6 at 11, 24. A longer social media
Gerwaski does not dispute the truthfulness of the               post also declared, "[b]y establishing spaces for popular
statements, arguing that even if true, the statements           education on campus, we will disrupt the university's
were substantial assistance to foreign terrorist                operations, usurp its existing structures, and undermine
organizations and therefore outside First Amendment             its elite reputation to force university administrators to
protections. But the question here is not whether the           either cut ties with the Zionist entity or allow their
statements are entitled to First Amendment protection.          universities to shatter." Id. at 16. SJP-UNLV organized
Rather, the question is whether the statements meet the         protests [*30]     on campus and invited other
statutory definition of communications protected under          organizations to participate. Id. at 19-20, 23-24, 28-29,
Nevada's anti-SLAPP statute, which they do. And even            45. It also publicly criticized President Whitfield's
if NSJP's communications can be fairly attributed to            statements on the Palestine conflict and met with him
AMP, these communications are largely calls to action           privately to discuss SJP-UNLV's concerns. Id. at 25, 47-
or statements of support that either express an opinion         48.
or do not contain provably false factual assertions. See
                                                                Gerwaski clarifies that the communication including
Abrams v. Sanson, 136 Nev. 83, 458 P.3d 1062, 1068
                                                                "Zionism presence on our campus can't go unchecked"
(Nev. 2020) (Statements of opinion are made without
                                                                forms the basis of his IIED claim against SJP-UNLV.
knowledge of their falsehood because "there is no such
                                                                ECF No. 53 at 17. In response to SJP-UNLV's special
thing as a false idea." (quotation omitted)). AMP has
                                                                motion to dismiss, Gerwaski does not elaborate on what
thus satisfied the first step of the anti-SLAPP analysis.
                                                                conduct by SJP-UNLV was extreme and outrageous.
At step two, Gerwaski has not demonstrated with prima           Instead, he focuses on his conclusory allegations that
                                                                SJP-UNLV provided material support to terrorism, which
facie evidence that he is likely to succeed on his IIED
                                                                is extreme and outrageous behavior, and that SJP-
claim. As discussed above, Gerwaski fails to plausibly
allege that AMP engaged in extreme and outrageous               UNLV made its statements knowing them to be false.
conduct, that he suffered an injury with objectively
                                                                SJP-UNLV has met its burden at step one of the anti-
verifiable indicia of that injury, [*29] or that his
                                                                SLAPP analysis. Gerwaski's IIED claim against SJP-
emotional distress was proximately caused by AMP's
                                                                UNLV is based on protected communications. SJP-
conduct. And in response to AMP's anti-SLAPP motion,            UNLV's communications as described in the FAC were
he did not provide any evidence to meet his prima face
                                                                made in public about the conflict in Gaza, a matter of
case. Because both steps of the anti-SLAPP analysis
                                                                public concern. SJP-UNLV's president, Alexa Hayden,
are met, I grant AMP's special motion to dismiss.               provided an affidavit asserting that the organization
Because a dismissal under the anti-SLAPP statute
                                                                does not coordinate with Hamas or take direction from
"operates as an adjudication upon the merits," I dismiss
                                                                NSJP; SJP-UNLV's [*31] social media accounts are
Gerwaski's IIED claim against AMP with prejudice. Nev.          public and represent its official views; and its statements
                                                                at protests and on social media were "truthful or made
3 The statements attributed to AMP's founder appeared on a      without knowledge of falsity." ECF No. 61-1 at 2-5.
non-party's social media. The underlying statements appear to   There is no evidence in the record to contradict
have been made during a protest at George Washington            Hayden's affidavit other than Gerwaski's conclusory
University in a public area, and Gerwaski does not argue        allegations that SJP-UNLV knew its statements were
otherwise.                                                      false or constituted material support for terrorism. SJP-

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UNLV therefore satisfies step one of the anti-SLAPP
analysis.                                                     End of Document


Gerwaski has not demonstrated with prima facie
evidence that he is likely to succeed on his IIED claim.
As discussed above, Gerwaski fails to plausibly allege
that SJP-UNLV engaged in extreme and outrageous
conduct, that he suffered an injury with objectively
verifiable indicia of that injury, or that his emotional
distress was proximately caused by SJP-UNLV's
conduct. And in response to SJP-UNLV's anti-SLAPP
motion, he did not provide any evidence to meet his
prima face case. Because both steps of the anti-SLAPP
analysis are met, I grant SJP-UNLV's special motion to
dismiss. I dismiss Gerwaski's IIED claim with prejudice.


IV. CONCLUSION

I THEREFORE ORDER that defendant AJP Legal
Foundation, Inc.'s motion to dismiss (ECF No. 24) [*32]
is GRANTED in part. I dismiss all claims against AJP
for lack of personal jurisdiction, and I dismiss Gerwaski's
Antiterrorism Act claims without prejudice.

I FURTHER ORDER that defendant Students for Justice
in Palestine — UNLV's motion to dismiss (ECF No. 51)
is GRANTED. I dismiss Gerwaski's Antiterrorism Act
claims without prejudice.

I FURTHER ORDER that defendant AJP Legal
Foundation, Inc.'s special motion to dismiss (ECF No.
37) is GRANTED. Gerwaski's IIED claim against AJP is
dismissed with prejudice.

I FURTHER ORDER that defendant Students for Justice
in Palestine — UNLV's special motion to dismiss (ECF
No. 61) is GRANTED. Gerwaski's IIED claim against
SJP-UNLV is dismissed with prejudice.

I FURTHER ORDER that by June 3, 2025, plaintiff
Corey Gerwaski may file an amended complaint to cure
the deficiencies identified in this order. If Gerwaski does
not amend by that date, this case will proceed against
any remaining defendants.

DATED this 5th day of May, 2025.

/s/ Andrew P. Gordon

ANDREW P. GORDON

CHIEF UNITED STATES DISTRICT JUDGE



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